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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MJSSOURI
                                         EASTERN DIVISION

     UNITED STATES OF AMERICA,

           Plaintiff,      r-

     v.
                                                          )        No. 4:22-CR-219 SRC
     JAMES ISAAC CRABTREE,
                                                          )
      - Defendant.
                                                          )
                                                          )
                                                          )
                                                                                                        \
                                     GUILTY PLEA AGREEMENT
                                                              ·(


              Come now the parties and hereby agree, as follows:

    1. PARTIES: ·

          The parties are the defendant James Isaac Crabtree, represented by defense counsel John M.

    Lynch, and the UnitedStates of America (h~reinafter "United States" or "Government"),

    represented by Assistant United States Attorney Hal Goldsmith and the Office of the United .

    States Attorney for the Eastern District of Missouri. This agreement does :r;iot, and is not

    intended to, bind any governmental office or agency other than the United States Attorney for the

    Eastern District of Missouri. The Court is neither a party to nor bound by this agreement. 1


    2. GIDLTY PLEA:

I            Pursuant to Rule 1 l(c)(l)(A), Federal Rules of Criminal Proced~e, in yXchange for ~e

    defendant's voluntary plea of guilty to Counts One and Two of the Indictment, the United States

    agrees that no further federal prosecution will be brought in this District relative to the

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  defendant's criminal conduct as set forth in the Indictment, of which the Government is aware at

  this time.

          In addition, the parties agree th~t the U.S. Sentencing Guidelines Total Offense Leyel

  analysis agreed to by the parties herein is the result of negotiation and led, in part, to the gu~lty
                                                                                                   "
. plea. The parties further agree that either party may request a sentence above or belo'Y the U.S.
                                                                                             I




 ,Sentencing Guidelines range (combination of Total Offense L~vel and Criminal History

  Category) ultimately determined by the Court pursuant to any chapter ofth~ Guidelines and Title
                                   -                                            V




, 18, United States Code, Section 3553(a). The parties further agree that notice of any such

  request will be given no later than 1en _days ·prior fo sentencing and that said notice shall specify

 the lega+ and factual bases for the request._

 3. ELEMENTS:
                                                                      '-.-               .
         As to Count One, the defendant admits to knowingly violating Title 18, United States

 Code,
    •
       Section 242, and admits
                          •
                               thereI is a factual basis for the plea and further folly
                                                                                     ,
                                                                                        understands

 that the elements of the crime are:

         1.      Defendant deprived "Victim One" of a right, priyilege, or immunity secured by
                 the Constitution or laws ofthe United States, that is, the right not to be deprived
                 ofliberty without due procySS oflaw, which inch.ides the right to bodily int~grity;

         2.      Defendant acted willfully, that is, the defendant committed such act or acts with a
                 bad purpose or improper motive to disobey or disregard the law, specifically
                 intending to deprive the person of that rights; arid,

         3.      Defendant acted under color oflaw.

         As to Count Two, the defendant admits to knowingly violating 'fiitle 18,.United States
                                       ~                  .                          '
 Code, Section 1001, and admits there is a factual basis f<;>r the plea and further fully understands

 that the elements oftheJcrime are:


                                                    2
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        1.     Defendant knowingly and intentionally made the statements as charged;

        2. '   The statements were false;

        3.     The statemeI?.ts concerned material facts;

        4.     The statements were made about a matter within the jurisdiction of the Federal
               Bureau of Investigation; and,

        5.     Defendant knew the statements were untrue when he made the statements.


4. FACTS:

        The parties agree that the facts in this case are as follows and that the government would
                              \


prove these facts oeyond a reasonable doubt if the case were to go to trial. These facts may be

considered as relevant conduct pursuant to Section lBl:3:

       On March 8, 2021,
                    -,   Defendant was the appointed Municipal Prosecuting Attorney for
                                                             ,




\Jefferson County, Missouri in the Eastern District of MissoUfi. While acting under color of law,

Defendant did willfully deprive a woman, whose identity is identified in the Indictment as "Vi.ctim

One", of the rights secured and protected by the Constitution and laws of the United States not to

be deprived of liberty without due process of law, which includes the right to bodily integrity.
                                                                                              I

Specifically, on March 8, 2021, Victim One was a defendant in multiple cases pending before the

Municipal Court for Jefferson County, Missouri. While acting in his capacity as Municipal

Prosecuting Attorney for Jefferson County?. Missouri, the Defendant engaged in sexual contact as
                                                                         )

defined in Title 18, United States Code, Section 2246(3), while Defendant was with Victim One

in Defendant's office in the Jefferson County, Missouri courthouse.


       Further, on March 3, 2022, in Jefferson County, Missouri, within the Eastern District of

.Missouri, the Defendant, did willfully and knowingly make one and more materially false,

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         fictitious, and fraudulent statements and representations in a matter within the jurisdiction of the

         executive branch of the Government of the United States, by _making false statements to Special
                                                    .                               \
         Agents of the Federal Bureau oflnvestigation as to his actions-and conduct on March 8, 2021, to

,o       wit: Defendant falsely denied that he had sexual contact as defined in Title 18, United Sates

         Code, Section 2246(3) with Victim One; Defendant falsely denied that he kissed Victim One;

         Defendant falsely denied that he had touched Victim One's body; and Defendant falsely de~ed

         that he had Victim One take a portion of her clothing off when, as Defendant then and there

     - knew, he had taken those actions and engaged in that conduct.

                                                                                J

     , 5. STATUTORY PENALTIES:

                The defendant fully understands that the maximum possible penalties provided'by law for
                '                           '
         the crimes to which the defendant is pleading guilty are, as to Count One, imprisonment of not
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         more thari One year, •a fine of not more than $100,000, or both such imprisonment and fine. As

         to Count Two, imprisonment of not more than Five years, a fine of not more than $250,000, or
     1
         both such imprisonment and fine. The Court may also impose a period ·of supervised release of

         not more than one year fl.S to Count One, and not more than three years as to Count Two.

         6~ U.S. SENTENCING GUIDELINES (2021 ~UAL):

                The defendant understands that this offense is affected oy the U.S. Sentencing _Guidelines .
                                                                                                  '
         and the actual sentencing range is determined by both the Total Offense Level and the Crim_inal

         History Category. The·parties agre~ that the following are the applicable U.S. Sentencing

         Guidelines Total Offense Level provisions.
                                  1,/   •       ~       •




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        Count One:

        a. Chapter 2 Offense Conduct:

        (1) Base Offense Level: The parties agree that the base offense level is 6, as found in

Section 2Hl.1 .

       . (2) Specific Offense Characteristics: 1 The part{es agree that the following Specific

Offense Characteristics apply:

                 Because Defendant was a Public Official at the time of the offense or the offense

was committed under color oflaw, 6 levels are added pursuant to S~ction 2Hl.l(b)(l)(A) and_

(B).        C


        b. Chapter, 3 Adjustments:
                                                                  '•   I



                ,/(1) Because Victim One was a vulnerablevi~tim, 2 levels are added pursuant to

Section 3Al.l(b)(2).
                                                                                       /

            , (2) Because Defendant obstructed or impeded; or attempted to obstruct or impede,

the due administration of justice with respect to the investigation, or prosecution of the instant

offense of conviction, and the obstructive.conduct related to the defendant's offense of

conviction and any relevant conduct, 2 levels are added pursuant to Section 3 C 1.1.

                 (3) Acceptance of Responsibility: The parties agree that three levels should be

deducted pursuant to Section 3El.l(a) and (b), because the defendant has clearly demonstrated

acceptance ofresponsibility and timely notified the government of the defendant's intention to

plead guilty. The parties agree that'the defendant's eligibility for this deduction is based upon

information presently known. If subsequent to the taking of the guilty plea the government

receives new evidence of statements or conduct by -the defendant which it believes are


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    inconsistent with defendant's eligibility for this deduction, the government may present said
                                                                                  \.__,       ,'


    evidence to the court, and argue that the defendant should not receive all or part of the deduction

    pursuant to Section 3E 1.1, without violating the plea agreement.

            (i) Other Adjustments: The parties agree that the foliowing additional adjustments

    apply: None.

            c. Other Adjustment(s)/Disputed Adjustments: None.

            d. Estimated Total Offense Level: The parties estimate that the Total Offense Level as ·

    to Count One is 13.

            Count Two:

            a. Chapter'2 Offense Conduct:

            (1) Base Offense Level: The parties agree that the base offense level is 14, as ~ound in- -

    Section 2Jl .2.

            (2)~ Specific Offense Characteristics: The parties agr~e that the following Specific

    Offense Characteristics apply: None.         1



                      b. Chapter 3 Adjustments:

                      .(1) Because Victim One was a vulnerable victim, 2 levels are added pursuant to

    Section 3Al.l(b)(2). ,

                      (3) Acceptance of Responsibility: The parties
                                '            ,              :
                                                                    agree that three levels should be
                                                                              \




    deducted pursuant to Section 3El.1,(a) and (b), because the defendant has clearly demonstrated

    acceptance of responsibility and timely notified the government of the defendant's intention to
                  '                 -                        ,   ,        .
                                        ,                                                          '
    plead guilty. The parties agree that the defendant's eli_gibility for ~is d~duction is based upon
I
    information presently known. If subsequent to the taking of the guilty plea the government
                                                     ,                                    \




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receives new evidence of statements or conduct by the defendant which it believes are

inconsistent with defendant's eligibility for this deduction, the government may present said
                                                                          ,/

evidence to the court, and argue that the defendant should not receive all or part of the de_duction

pursuant to Section 3El.l, withou(violating the plea agr~ement.

        (2) Other Adjustments: The-parties agree·tha~ the following additional adjustments
                                                                                                            )
apply: None.

       c. Other Adiustment(s)/Disputed Adjustments: None.

       d. Estimated Total Offense Level: The parties estimate that the Total Offense Level as
                                                                                                   \.

to Count Two is 13.

       Grouping:
                                                                               .-
       Pursuant to Section 3D 1.4, the parties recommend that 2 levels are added.

       Final Estimated Total Offense Level: The parties estimate that the final Total Offense           L
Level is 15.

       e. Criminal History: The determination_ofthe defendant's Criminal History Category

shall be left to the Court. Either party may challenge, before and at sentencing, the finding of the
                       \

Presentence Report as to the defendant's criminal history and the applicable category. The

defendant's criminal history 1s known to the defendant and is substantially available in the

Pretrial Services Report

       f. Effect of Parties', U.S. Sentencing Guidelines Analysis: The parties agree that the

Court is not bound by the Guidelines analysis agreed to herein. The parties may not have

foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any.
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        Guideline despite the agreement herein and the parties shall not be permi~ed to withdraw from
                                                           1



        the plea agreement.

        7. WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:
                       I                      .   .-
                a. :Appeal: The defendant has bee:q. fully_apprised by defense counsel of the defendant's

        rights concerning appeal and fully understands the right to appeal the sentence under Title 18,

        United States Code, Section 3742.

                           (1) Non-Sentencing Issues: The parties waive all rights to appeal all non-
                                                                                     \
        jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

        motions, discovery, the guilty plea, the constitutionality of the statute(s) to which defendant is

        pleading guilty and whether defendant's conduct falls within the scope of the statute(s).
                                  '                    I                                 .
                           (2) Sentencing Issues: In the event the Court accepts the plea, accepts the U.S.
                                          .                                                       \

        Sentencing Guidelines Total Offense Level agreed to herein, and; after determining a Sentencing
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                                                                           1'
•
    0
        Guidelines range, sentences the defendant within or below that range, then, as part of this

        agreement, the defendant ~ereby waives all righti to appeal all sentencing issues other than

        Criminal History, but only if it affects the Base Offense Level or Criminal History Category.

        Similarly, the Government hereby waives all rights to appeal all "Sentencing issues other than
                                                       J                   )         -       .

        Criminal History, provided the C~n]!t accepts the plea, the agreed Total Offense Level and

        sentences the defendant within or above that range.
                   I              ·--                              ;

               b. Habeas Corpus: The defen~ant agrees to waive all rights to co11-test the conviction or

        sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

        Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of

        counsel.


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        c. Right to Records: The defendant waives all rights, whether asserted directly or by a

representative, to request from any department or agency of the United States any records

pertaining to the investigation ·or prosec{!-tion of this case, including any records that may be

sought under the Freedom oflnformation Act, Title 5, United States Code, Section 522, or the

Privacy Act, Title 5, United States Cod~, Section 552(a).

8. OTHER:

        a.· Disclosures Required by the United States.Probation Office: The defendant agrees

to truthfully complete and sign forms as required by the United States Probation Office prior to

sentencing and consents to the release of these forms and any supporting documentation by the

United States Probation Office to the govenµnent.
                                                                                     I   .

        b. Civil or Administrative Actions not Barred; Effect on Other Governmental

Agencies: Nothing contained herein limits the rights and authority of the United States-to take

any civil, tax, immigration/deportation or administrative action against the.defendant.

        c. Supervised Release: Pursuant to any supervised release term, the Court will impose

standard conditio~ upon the defendant and may impose special conditions related to the crime
                                               I

defendant committed.     These conditions will be restrictions on the defendant to which the

defendant will be required to adhere. Violation of the conditions. of supervised release resulting

in revocation may require the defendant to serve a term of imprisonnient equal to the length of

the term of supervised release, but not greater than the term set forth in Title 18, United States

Code, Section 3583(e)(3), without credit for the time served after rel~ase. The defendant

understands that parole has been ~bolished




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        d. Mandatory Special Assessment: Pursuant to Title 18, Ull!ted States Code, Section

3013, the Court is required to impose a mandatory special assessment of $100 per felony count

and $50 per misdemeanor count, for 8: total of $150, which the, defendant agrees to pay at the

time of sentencing. Money paid by the defendant toward any restitution or fine imposed by the

Court shall be first used to pay any unpaid mandatory special assessment. .

      , e. Possibility of Detention: The defendant may be subject to immediate detention

pursuant to the provisions of Title 18, United States Code, Section 3143.

        f. Fines, Restitution and Costs of Incarceration and Supervision: The Court may

impose a fine, restitution (in addition to any penalty aqthorized by law), costs of incarceration
                                                        \




and costs of supervision. The defendant agrees that any fine or re~titution imposed by the Court

,will be due and payabl~ immediately. Pursuant to Title 18, Unit~d States Code, Section 3663A,

an order ofrestitution is mandatory for all'crimes listed in Section 3663A(c). Regardless of the
               ._                                                             ,
Count of conviction, the amount of inandato·zy restitution imposed shall include ap amounts
                                                                         )

allowed by Section 3663A(b) and the amount of loss agreed to by the parties, including all

relevant conduct loss. The defendant agrees to provide full restitution to all victims of all

charges in the indictment.

                g. Forfeiture: The defendant lrnowingly and voluntarily waives any right, title,

and interest in all items ~eized by law enforcement officials during the course of their
                                                        "
investigation, whether or not they are subject to forfeiture, and agrees not to contest the vesting
                                              J   I                               '
of title of such items in the United States. The defendant agrees to abandon his interest in all

seized items and further agrees that said items may be disposed of or destroyed by law

enforcement officials in any manlier without further notice. By abandoning these items, the


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                                                                     '
 defendant waives any future rights to receive additional notice, a valuation •Of the items, or the

 opportunity to submit a claim to contest the disposition or destruction of the items that may exist

 under any policies or procedures of the seizing agency.


        9. ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:
                         \,




        In pleading guilty, the defendant acknowledges, fully understands and hereby waiv~s his

rights, including but not limited to: the ri~ht to plead not guilty to the charges; the-right to be

tried by a jury in a public and speedy trial; the right to file pretrial motiop.s; including motions. to ·
                                                                                                             j   \


suppress or exclude evidence; the
                                _I
                                   right at such trial to ·a presumption of innocence; the right to

i:equire the government to prove the elements of the offenses against the defendant beyond a

reasonable doubt; the right not to testify; the right not to present any-evidence; the right to be

· protected from compelled self-incrimination; the right at trial to confront and cross-examine

adverse witnesses; the right to testify and present evidence· and the right to compel the attendance

of witnesses. The defendant further understands that by this guilty plea, the defendant expressly ·

waives all the rights set forth in this paragraph.

The defendant fully under~tands that the defendant has the· right to be represented by counsel,

and if necessary, to have the Court appoint counsel at trial and at every other stage of the
                    -·
proceeding. The defendant's counsel has explained these rights and the consequences of the
                                  '
                              I
waiver of these rights. The defendant fully understands that, as a result of the guilty plea, no trial
                                        "                                                   .

;will, in fact, occur and that the only action remaining to be taken,    mthis case is the imposition of
the sentence.
                                                                 I


        The defendant is fully satisfied-with the representation received from defense.~ounsel.

The defendant has reviewed the government's ~vidence and discussed the government's case and
                                                     11
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 a~l possible defenses and defense witnesses with defense counsel. Defense counsel has

 completely and satisfactorily explored all areas which the defendant has requested relative to the

 government's case and any defenses.

         The guilty plea could impact defendant's immigration status or result in depm;tation.     In··
               '

 particular, if any crime to which defendant is pleading guilty is an "aggravated felony" as defined

 by Title   8l United Stat~s Code, Section l 10l(a)(43), removal or deportation is presumed
 mandatory. Defense counsel has advised the defendant of the possible immigration

 corisequences, including deportation, resultin~ from the plem

 10. VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

         This document constitµtes the entire agreement between the defendant and the
                                                                  \
 gove~ent, and no other promises or inducements have been made, directly- or indirectly, by

 any agent ofthe government, includ~ng any Department of Justice attorney, concerning any plea

 to be entered in' this case. In- addition, the defendant states that no person has, directly or

 indirectly, threatened or coerced the defendant to do or refrain ,from doing anytbing in

 connection with any aspect of this case, including entering a plea of guilty.

         The defendant aclmowledges having voluntarily entered into both the plea agreement and

 the guilty plea. The defendant further aclmowledges that this guilty plea is made of the

. defendant's own free will and that the d~fi:indant is; in fact, guilty.

 11. CONSEQUENCES OF POST-PLEA MISCONDUCT:

         After pleading guilty and before sentencing, if defendant commits any criffie, other than

 minor traffic offenses, violates any condition of release that results in
                                                                         I
                                                                           revocation, violates any

 term of this gw}tY, plea agreement, intentionally provides misleading, incomplete or untruthful


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                    (                      ,
  . information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its

      option, may be released fro~ its obligations under this agreement. The Government may also, in

      its discretion, proceed with this agreement and may advocate for any sentencing position

      support,ed by the facts, including but not limited to obstruction of justice and denial of

, acceptance of responsibility.

      12. NO RIGHT TO.WITHDRAW GUILTY PLEA:

             Pursuant to Rule·l l(c) and (d), Federal Rules of Criminal Procedure, the defendant

      understands that there will be no right to withdraw the plea entered under this agreement, except

  where the Court rejects those portions of the plea agreement which deal with charges the

  government agrees to dismiss or not to bring.




  Pvrf.J- l't>1ctP~
  .
             Date
             .                                              Assistant United States Attorney




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